
19 N.Y.2d 967 (1967)
The People of the State of New York, Respondent,
v.
Ronald K. Carter, Appellant.
Court of Appeals of the State of New York.
Argued May 15, 1967.
Decided May 31, 1967.
Arnold C. Peer for appellant.
M. Andrew Dwyer, Jr., District Attorney (William J. Doyle, Jr., of counsel), for respondent.
Concur: Chief Judge FULD and Judges VAN VOORHIS, BURKE, SCILEPPI, BERGAN, KEATING and BREITEL.
Judgment affirmed in the following memorandum. The complainant paid $3,300 for his automobile 10 months prior to its theft. Under the circumstances of this case, such evidence sufficiently established that market value of the automobile was in excess of $500. We have considered the other contentions advanced by defendant and find them without merit.
